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14
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15
                        FOR THE CENTRAL DISTRICT OF CALIFORNIA
16
     UNITED STATES OF AMERICA,                 No. SA CR 19-061-JVS
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                Plaintiff,                     GOVERNMENT’S MOTION TO PRECLUDE
18                                             DEFENDANT FROM RECALLING MICHELLE
                      v.                       PHAN AS A WITNESS AND NOTICE OF
19                                             POTENTIAL REBUTTAL WITNESS
     MICHAEL JOHN AVENATTI,
20
                Defendant.
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23         Plaintiff United States of America, by and through its counsel
24   of record, the Acting United States Attorney for the Central District
25   of California and Assistant United States Attorneys Brett A. Sagel
26   and Alexander C.K. Wyman, hereby files its motion to preclude
27   defendant from recalling Michelle Phan as a witness and notice of
28   potential rebuttal witness.
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 1         This Motion is based upon the attached memorandum of points and

 2   authorities, the files and records in this case, and such further

 3   evidence and argument as the Court may permit.

 4    Dated: August 20, 2021               Respectfully submitted,

 5                                         TRACY L. WILKISON
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                                           SCOTT M. GARRINGER
 7                                         Assistant United States Attorney
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 9                                               /s/
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12                                         UNITED STATES OF AMERICA
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 1                       MEMORANDUM OF POINTS AND AUTHORITIES

 2           On August 18, 2021, the government raised potential issues with

 3   some of the witnesses listed on defendant’s witness list, and the

 4   Court stated that no motions were made to exclude any witnesses so

 5   defendant was free to raise issues in advance with the Court if

 6   defendant believed there may be issues.         (8/18/21 V.1 RT at 7-8).

 7   Defendant on his own, provided an example of a potential issue with a

 8   witness:

 9                I'll give you an example. I want to call Ms. Phan back
             to the stand, and I want to talk to her about what the
10           Newport Beach investigator told her.
                  Now, you sustained objections while she was on the
11           stand relating to that questioning. I want to be able to
             present argument to Your Honor, preferably before she gets
12           on the stand, about why that questioning is appropriate and
             permissible under the rules of evidence in light of
13           especially what she's already testified to.

14   (Id. at 8.)

15           The Court responded: “Sir, you tell me how much time you think
16   you’re going to need, and we’ll schedule a hearing sufficiently in
17   advance of the day she’s going to come on to deal with that. I have
18   no problem with that.”      (Id. at 8-9.)     Defendant replied, “Thank
19   you.”    (Id. at 9.)

20           Since defendant provided the example relating to Ms. Phan prior

21   to the trial commencing in the morning of August 18, 2021, defendant

22   has not presented any argument to the Court on why the questioning is

23   now appropriate despite the Court’s prior exclusion of the testimony.

24   At 7:59 p.m. on August 19, 2021, defendant through his paralegal,

25   emailed the government and stated: “Please make sure Mr. Drum and Ms.

26   Phan are present on Tuesday to be recalled.”          Before Ms. Phan is

27   required to return on Tuesday, defendant should be required to

28   provide the Court with a basis to recall her to ask her relevant and
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 1   admissible questions.

 2         The Court properly sustained objections to defendant’s attempt

 3   to claim the Newport Beach Police Department (“NBPD”) investigator

 4   told Ms. Phan that NBPD was declining to prosecute the matter because

 5   they purportedly believed it was a civil matter.           Defendant attempted

 6   to ask the same inappropriate questions approximately four times,

 7   despite the Court’s repeated sustained objections.           (8/12/21 V.2 RT

 8   at 14-16).     In addition to the reasons the Court sustained the

 9   objections at the time, the predicate for defendant’s questions --

10   i.e., the investigator with NBPD told Ms. Phan her allegations did

11   not warrant criminal prosecution -- is simply false.

12         Despite defendant listing NBPD Investigator Emily Bledstein on

13   his witness list filed on August 17, 2021, the government understands

14   defendant nor anyone on defendant’s legal team, has reached out to

15   Investigator Bledstein.       Moreover, the government understands that

16   Investigator Bledstein would testify that not only did she not tell

17   Ms. Phan or her legal representatives what defendant claimed in his

18   questions, Investigator Bledstein prepared a report and submitted it

19   to the Orange County District Attorney’s Office (“OCDA”) for criminal

20   prosecution and that an investigator from the OCDA was assigned to

21   the matter.1    Contrary to defendant’s claims in his questioning, the

22   NBPD investigator did believe it was a criminal matter.

23         Defendant should not be able to recall Ms. Phan on Tuesday

24   without first complying with what defendant told the Court he would

25   do, and the Court’s requirement that defendant do so “sufficiently in

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27         1And the reason the NBPD and/or OCDA did not further pursue the
     matter is because the U.S. Attorney’s Office contacted them to take
28   the matter over as part of its larger, ongoing investigation into
     defendant.
                                        2
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 1   advance of the day she's going to come.”          At a minimum, defendant

 2   should file something prior to the hearing scheduled for Monday,

 3   August 23, 2021, so the Court can rule on whether Ms. Phan would need

 4   to be present on Tuesday, August 24, 2021.          Based on the current

 5   record, because defendant has yet to file anything with new bases to

 6   recall Ms. Phan, the Court should preclude defendant from recalling

 7   Ms. Phan to attempt to re-ask questions that are inappropriate and

 8   inadmissible, which this Court has already ruled (multiple times).

 9   If defendant is permitted to recall Ms. Phan, the government will be

10   prepared to call Investigator Bledstein as a rebuttal witness.

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